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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

MITCHELL MIRAGLIA
an individual

Plaintiff

VERSUS CIVIL ACTION NO. 2:15-cv-04947-JCZ-MBN

THE BOARD OF DIRECTORS OF THE
LOUISIANA STATE MUSEUM, ET AL.

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Defendants
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ACKNOWLEDGMENT OF RECEIPT OF FUNDS

The undersigned, Andrew D. Bizer, was the attorney of record who handled the
plaintiff's case against the defendants and has full authority to execute this Acknowledgement of
Receipt of Funds.

I, the undersigned, hereby certify that I have this day received payment in the amount of
$35,946.89 from Board of Directors of the Louisiana State Museum and Robert Wheat in his
official capacity as chief executive of the Louisiana State Museum in compliance with the
October 9, 2018 mandate of the United States Fifth Circuit Court of Appeals (Doc. 152), with
Board of Directors of the Louisiana State Museum and Robert Wheat in his official capacity as
chief executive of the Louisiana State Museum specifically reserving, and expressly not waiving,
their right to petition the United States Supreme Court for a writ of certiorari regarding the
United States Fifth Circuit Court of Appeals’ ruling and mandate

New Orleans, Louisiana, this 19" day of November, 2018.
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Respectfully Submitted,

BIZER & DEREUS

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yyy YY

Andrew D. Sati (LAA a
Garret S. DeReus (LA # 35105)
3319 St. Claude Ave.

New Orleans, LA 70117

T: 504-619-9999; F: 504-948-9996

CERTIFICATE OF SERVICE
I hereby certify that a copy of the above and foregoing pleading has been served upon all
counsel of record, either electronically or by placing same in the U.S. Mail, postage prepaid, or

by Electronic Notice, this 19 day of November, 2018.

__s/Christopher Moody
Christopher Moody

 
